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                            EXHIBIT B
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                                 RESUME OF LANCE A. HARKE

 EDUCATIONAL BACKGROUND

        Mr. Harke received his Bachelor of Arts degree in philosophy, with honors, from the
 University of Florida in 1987, and his Juris Doctor degree, magna cum laude, from the
 University of Miami School of Law in 1990. Mr. Harke served as Editor-in-Chief of the
 University of Miami Law Review. He was the recipient of the Soia Mentschikoff Award for
 Excellence in Scholarly Writing.

 LEGAL BACKGROUND

        Following law school, Mr. Harke served as the judicial law clerk for the Honorable
 Magistrate Judge Barry L. Garber in United States District Court for the Southern District of
 Florida. Thereafter, Mr. Harke joined the law firm of Steel Hector and Davis LLP for 8 years,
 where he became a partner and practiced in the fields of products liability defense, class action
 defense, accountant malpractice, and insurance defense. After leaving Steel Hector and Davis
 LLP in 1998, Mr. Harke formed his own firm and has focused his practice almost exclusively in
 complex commercial litigation and consumer class litigation at both the trial and appellate levels.
 Currently, Mr. Harke is a founding partner of the law firm Harke Clasby & Bushman LLP where
 his practice concentrates in multi-state consumer class action litigation, insurance litigation,
 employment matters, professional malpractice, products liability defense, and general and
 complex commercial litigation.

          Mr. Harke is admitted to practice law in the state of Florida, the United States District
 Courts for the Southern and Northern Districts of Florida, and the United States Court of Appeals
 for the Eleventh Circuit. In addition to Florida, Mr. Harke has tried matters to verdict in a
 number of states and federal venues, including Pennsylvania, Nevada, New Mexico, Iowa,
 Illinois, and New York. He is AV rated by the Florida Bar.

         Most recently, Mr. Harke served as Lead Counsel in Kenneth F. Hackett & Associates,
 Inc. v. GE Capital Information Technology Solutions, Inc. et al., Case No.: 10-20715-CIV-
 ALTONAGA/BROWN (S.D. Fla.). This action resulted in a multi-million dollar settlement on
 behalf of a nationwide class of copier lessees whom were overcharged for their monthly
 payments. Mr. Harke is currently serving as Co-Lead Class Counsel in In re: Photochromic
 Lens Antitrust Litigation, Case No. 8:10-MD-2173-JDW-EAJ (M.D.Fla) representing indirect
 purchasers in an antitrust class action involving Transitions photochromic lenses. Further, Mr.
 Harke served as Co-Lead Counsel in In Re: Heartland Payment Systems, Inc. Customer Data
 Security Breach Litigation, Civil Action No. H-09-MD-2046 (pending in the United States
 District Court for the Southern District of Texas). This action was the largest data breach
 multidistrict litigation in history, consisting of hundreds of millions of class members including
 consumers and financial institutions, and resulted in a multi-million dollar settlement on behalf
 of the consumer class.
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          Indeed, over the last several years, Mr. Harke, on a wide variety of multi-district
 litigations, has served as Lead Class Counsel or as a member of the Plaintiffs’ Steering
 Committee, and obtained over $225 million for consumers in both mass tort and class action
 litigation. Some of the notable cases Mr. Harke is currently or has been successfully involved in
 include:

        Williams v. Wells Fargo Bank, N.A., et al. Case No. 11-21233-CV-
        SCOLA/BANDTSRA (S.D. Fla.) (Appointed Co-Lead Counsel of a Certified
        Florida Class of Wells Fargo borrowers who were allegedly overcharged for
        forced placed insurance policies on their homes.)

        Lockwood et al. v. Certegy Check Services, Inc., Case No.: 8:07-CV-01657-SDM-
        MSS (M.D. Fla.) (served as Co-Lead Class Counsel in a class action on behalf of
        millions of consumers nationwide who had their private financial information sold
        to various third party marketing companies without authorization, and secured a
        settlement valued at over $75 million dollars).

        In Re: Countrywide Financial Corp. Customer Data Security Breach Litigation,
        Case No. 3:08-MD-01998-TBR (WDKY) (as a member of the Plaintiffs’
        Executive Committee in a class action on behalf of over 17 million consumers,
        achieved a settlement valued at over $300 million dollars.).

        Brinkman v. Florida Public Utilities, Case No. 50 CA 014341XXXXMB AH
        (Fla. 15th Jud. Cir. Ct) (As Co-Lead Class Counsel obtained a cash settlement on
        behalf of Florida consumers who were charged an illegal “Regulatory
        Compliance” fee which is collected but not remitted to any state, local or federal
        regulatory agency.)

        Eugene Francis v. Serono Laboratories, Inc., et al. (“Serostim”), Case No. 06-
        10613 PBS (U.S. District Court of Mass.) (As Co-Class Counsel obtained a $24
        million cash settlement in a nationwide class action litigation against multiple
        entities regarding the deceptive and illegal marketing, sales and promotional
        activities for the AIDS wasting prescription drug Serostim).

        In Re: Guidant Corp. Implantable Defibrillators Products Liability Litigation,
        MDL No. 1708 (U.S. District of Minnesota) (as a member of the Plaintiff’s
        Steering Committee, obtained a $245 million dollar settlement for patients in this
        nationwide mass tort class action regarding the sale of defective cardiac
        defibrillators and pacemakers).

        In Re: Zicam Cold Remedy Marketing, Sales Practices and Products Liability
        Litigation, MDL No. 2096 (pending in the United States District Court for the
        District of Arizona) (Harke Clasby & Bushman LLP was appointed to the
        Plaintiff’s Steering Committee in this action which was resolved for over $15
        million).
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       Carlos Perez, et al. v. Asurion Corporation, et al., Case No.: 06-20734-CIV-
       SEITZ/MCALILEY (S.D. Fla) (served as Co-Lead Counsel in a nationwide class
       action involving deceptive marketing of replacement cell phones and obtained a
       multi-million dollar settlement).

       In Re High Sulfur Content Gasoline Products Liability Litigation (“Shell”), MDL
       No. 1632 (acted as Class Counsel and member of Plaintiffs’ Steering Committee
       in a nationwide class action litigation that obtained millions of dollars in benefits
       to class members regarding the sale of defective and dangerous gasoline products
       to the consuming public).

       In Re Bextra and Celebrex Marketing, Sales Practices, and Product Liability
       Litigation, MDL No.: 05-01699 (selected as Consumer Allocation Counsel on
       behalf of all consumers who purchased Bextra, as well as a member of the
       Purchaser Claims Committee in a mass tort action on behalf of millions of
       consumers nationwide).

       Anna Vichreva v. Cabot Corporation, et al., Case No.: 03-27724 CA 27 (Fla. 11th
       Jud. Cir. Ct) (as Co-Lead Counsel, obtained a $825,500.00 common fund in the
       largest per consumer Carbon Black state court anti-trust class action settlement in
       the country).

       RGN Properties, Inc. v. Miami-Dade Housing Agency, Case No. 05-16420 CA 06
       (Fla. 11th Jud. Cir. Ct) (as Lead Class Counsel, settled a class action for $1.15
       million on behalf of low income Section 8 homeowners who did not receive on
       time rental payments from Miami-Dade County).

       Brian Shapiro v. Seaway Hotels Corporation, Case No.: 03-12917-CA-10 (Fla.
       11th Jud. Cir. Ct.) (acted as Lead Class Counsel in a nationwide litigation
       regarding alleged deceptive charges regarding hotel fees).

       Rosen v. Kryptonite Corporation, Case No. 04 CH 15345 (Cir. Ct. of Cook Co.,
       Ill.) (acted as Co-Lead Class Counsel in a nationwide defective bike locks
       litigation, obtaining substantial relief for the class).

       Fernandez, et al. v. Vitamin Shoppe Industries Inc., et al., Case No.: 03-25607-
       CA-30 (Fla. 11th Jud. Cir. Ct.) (acted as Co-Lead Class Counsel in a nationwide
       litigation regarding alleged deceptive pricing scheme perpetrated by the
       defendants).

       Maravilla v. Buy.com, Case No. 02-5237-CA-08 (Fla. 11th Jud. Cir. Ct.) (acted as
       primary counsel for a consumer class action regarding alleged deceptive shipping
       charges by the defendant).
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       In re MP3 Power Razor Marketing & Sales Practices Litigation, MDL Docket
       No. 1704 (served as a member of the Plaintiff’s Steering Committee for this
       nationwide consumer class action regarding the deceptive practices of the Gillette
       Company in the sale and marketing of its of MP3 power razor systems).

       In re: Bausch & Lomb Contact Lens Solution Products Liability Litigation, MDL
       Docket No. 1785 (appointed as a member of the Plaintiff’s Steering Committee
       for this nationwide consumer class action regarding the sale of defective nature of
       the design and manufacture of ReNu contact lens solutions).

       In re: Live Concert Antitrust Litigation, MDL Docket No. 1745 (C.D. Cal.)
       (appointed to the Executive Committee by the Honorable Stephen V. Wilson in a
       nationwide antitrust class action regarding the alleged fixing of prices for live
       concert tickets).

       Hoyos v. McDonald’s Corporation, et al., Case No.: 01-20463-CA-24 (Fla. 11th
       Jud. Cir. Ct.) (acted as counsel for Florida consumers in a litigation concerning
       certain McDonald’s promotional games and arose from the fraudulent removal of
       winning game pieces from random public distribution. The settlement of this case
       is valued at approximately $20 million, which included fifteen $1 million prizes
       given away by McDonald’s).

       Marguerite Miles, et al. v. America Online, Inc., Case No. 8:00cv273-T-24C,
       (M.D.Fla. 2000) (acted as primary counsel for a class of consumers for alleged
       deceptive practices of the defendant as well as violation of the Computer Fraud
       and Abuse Act).

       E.I. du Pont de Nemours and Company, Inc., (“DuPont”) (defense of numerous
       products liability suits against one of the largest chemical companies in the
       world).

       Julio Rumbaut v. Spanish Broadcasting System, Case No. 01-14249 CA 09 (Fla.
       11th Jud. Cir. Ct.) (successful defense at trial of second largest Hispanic radio
       corporation regarding employment compensation claim, including appeal, settled
       on appeal).

       In Re Vioxx Products Liability Litigation, MDL 1657(acted as a member of the
       State Purchaser Committee in a products liability mass tort action which resulted
       in a $4.5 billion settlement for consumers).
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 United States District Judge Patricia Seitz of the Southern District of Florida, recently
 commented as follows:

               The firms that comprise Class Counsel have the experience,
               reputation and ability to litigate complex class actions, as the Court
               has already found in preliminarily approving the Settlement.

               …

               Class Counsel Harke & Clasby also has experience in class action
               litigation, particularly in consumer class actions, having
               represented plaintiffs in nationwide class actions including
               consumer product and deceptive marketing class actions and other
               complex, large-scale litigations throughout the United States in
               both state and federal courts.

 See Order Granting Class Counsel’s Motion in Support of Request for Attorneys’ Fees and Costs
 and Incentive Awards to Named Plaintiffs dated August 8, 2007 in the matter of Carlos Perez, et
 al. v. Asurion Corporation, et al., Case No.: 06-20734-CIV-SEITZ/MCALILEY (S.D. Fla.).

         In December 2008, The South Florida Daily Business Review named Harke Clasby &
 Bushman LLP as one of South Florida’s Top Litigation Shops of 2008. Mr. Harke was also
 selected as one of South Florida’s Most Effective Litigators for 2008 by The South Florida Daily
 Business Review. Further, from 2009 through 2011, Mr. Harke was named a Super Lawyer by
 Florida Super Lawyers Magazine.

         Mr. Harke is a Fellow for the Litigation Counsel of America, a Trial Lawyer Honorary
 Society, an invitation-only trial lawyer honorary society limited to 3500 members nationwide
 and composed of less than one-half of one percent of all American lawyers. Mr. Harke was
 recently accepted into the Million Dollar and Multi-Million Dollar Advocates Forum, one of the
 most prestigious groups of trial lawyers in America and represents less than 1% of U.S. lawyers.

        Mr. Harke was selected as one of South Florida’s Most Effective Litigators for 2008 by
 The South Florida Daily Business Review. Further, in 2009 and 2010, Mr. Harke was named a
 Super Lawyer by Florida Super Lawyers Magazine. Mr. Harke was selected as one of Florida’s
 Legal Leaders for 2011 by Florida Trend’s Legal Elite.

        Mr. Harke is currently serving as President for the Legal Services of Greater Miami, as
 well as Vice-President for the Greater Miami Shores Chamber of Commerce. He is also a
 Trustee of Temple Israel of Greater Miami and an officer in the Miami Shores Bar Association
 and the Greater Miami Shores Chamber of Commerce. Mr. Harke was recently named 2011
 Citizen of Year for Miami Shores Village.
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 PUBLICATIONS

 The Scope of Discovery in the Federal Courts: A Survey of Published, Post-1980 Cases From the
 Federal Courts Regarding the Scope of Permissible Discovery in Civil Litigation, Editor,
 published by the American Bar Association Section of Litigation.

 Product Liability Desk Reference: A Fifty State Compendium, Contributing Author, published by
 Aspen Law and Business.

 Positive business climate requires well-funded court system, Contributing Author, published by The
 Miami Herald.

 Board of Contributors: Proposed legal services funding cuts would hit the less fortunate hardest,
 Contributing Author, published by Daily Business Review

 Judge Joan A. Lenard’s order for state to provide services to autistic children an important one,
 Contributing Author, published by Daily Business Review
